                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Carlos Bustamante, on behalf of                )
himself and all other plaintiffs similarly     )
situated,                                      )
                                               )
               Plaintiffs,                     )
                                               )
               v.                              )      Case No.: 16-cv-11753
                                               )
Firehouse Pizza & Pub LLC,                     )
d.b.a. FireHouse Pizza, and                    )
Dominick Fecarotta                             )
                                               )
                                               )
               Defendants.                     )

AGREED JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT AND
                   STIPULATION OF DISMISSAL

       Plaintiff and Defendants, hereby request the court to approve the settlement of this action.

Upon approval of the settlement, the parties, pursuant to Fed.R.Civ.Pro 41(a), hereby stipulate to

the dismissal of the plaintiff’s claims without costs. In support of this motion, the parties state as

follows:

       1.      This matter arises out of plaintiff’s employment with defendants.

       2.      The parties have reached an agreement to resolve their dispute.

       3.      Plaintiff is represented by counsel, Defendant has proceeded pro se. All parties

have reviewed the agreement. Defendant was provided an opportunity to seek his own counsel to

review the agreement and receive advise.

       4.      Among the statutes included in the plaintiff’s waiver are the Fair Labor Standards

Act and the Illinois Minimum Wage Law.
        5.      As these statutes require court approval for waiver, the parties request that the

court enter an order approving their agreement to dispose of this matter through settlement.

        6.      The parties will submit the settlement agreement to the court for review.

        7.      The plaintiff’s claims are disputed by defendants and the parties believe it is in

their mutual best interest to resolve this case.

        8.      Upon approval of the settlement by the court, the parties stipulate pursuant to

Fed.R.Civ.P.41 to the dismissal of this action without prejudice which shall automatically

convert to a dismissal with prejudice and without costs on June 30, 2018.

        WHEREFORE, the parties respectfully request entry of an order approving the settlement

of this action and then dismissing this action without prejudice, which shall automatically

convert to a dismissal with prejudice and without costs on June 30, 2018 pursuant to the

stipulation of the parties.



                                                                      Respectfully submitted,

                                                       By: /s/ John Kunze

                                                       One of the attorneys for Plaintiff



                                                       By: __________________________

                                                       Dominick Feccorrata

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